Case No. 1:22-cv-01129-NYW-SKC Document 82-1 filed 12/08/22 USDC Colorado pg 1 of
                                      2




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:22-cv-01129

   ERIC COOMER, PhD.,

         Plaintiff

   v.

   MICHAEL J. LINDELL, FRANKSPEECH LLC,
   AND MY PILLOW, INC.,

         Defendants


                                    EXHIBIT A
Case No. 1:22-cv-01129-NYW-SKC Document 82-1 filed 12/08/22 USDC Colorado pg 2 of
                                      2


Subject:    Coomer v Lindell et al; No. 22-cv-01129
Date:       Wednesday, December 7, 2022 at 6:25:35 PM Central Standard Time
From:       ScoG Beam
To:         joe@conservaKve-daily.com, joe@fecunited.com, Joe Oltmann
CC:         Charlie Cain, Brad Kloewer, ScoG Beam
A2achments: 81-Dkt Txt-Min Ord SeGng Mtn Hrg on 12-12 at 11am (Dkt 80)(20221207)[7].pdf

Mr. Oltmann:

I attach Docket No. 81 that was entered in the referenced matter today.

We have sent this email to other email addresses known to us in order to comply with the Court’s
order and to ensure you have time to respond.

Thank you.

Scotti
***************
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